Case: 1:19-cv-03077 Document #: 85 Filed: 08/01/19 Page 1 of 3 PagelD #:6058

CREATIVE IMPACT INC.;
CREATIVE IMPACT (HONG KONG) LIMITED;
ZURU LLC; and

ZURU INC.,

Plaintiffs,

Vv.

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

Defendants.

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

Case No.: 19-cv-3077

Judge Charles R. Norgle

Ne ee ae ee ae eS

PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs CREATIVE
IMPACT INC., CREATIVE IMPACT (HONG KONG) LIMITED, ZURU LLC, ZURU INC., hereby

dismiss with prejudice all causes of action in the complaint against the following Defendants identified in

Schedule A. Each party shall bear its own attorney’s fees and costs.

No.

625
627
628
664
671
674
706
710
712
713

Defendant

shenzhenshijiaxinshengkejiyouxiangongsi
Shenzhenshiqiamoyufushiyouxiangongsi
shenzhenshiyadilafuyouxiangongsi

Spark World 2014

Star World 2014

StarHouseNONO1

Tampere

temple

tfdtech

ThailandAromatherapyOil

The respective Defendants have not filed an answer to the complaint or a motion for summary

judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is

appropriate.
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Dated: August 1, 2019

Respectfully submitted,

By:

s/Michael A. Hierl

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CREATIVE IMPACT INC.,

CREATIVE IMPACT (HONG KONG) LIMITED,
ZURU LLC,

ZURU INC.
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CERTIFICATE OF SERVICE
The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of

Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on August 1, 2019.

s/Michael A. Hierl

 
